                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )       No.:   3:08-CR-156-PLR
                                                 )
 Nathaniel Brown                                 )
                                                 )



                            MEMORANDUM AND ORDER


        This case is before the Court on defendant’s motion for a sentence reduction

 pursuant to Amendment 782 to the United States Sentencing Guidelines [R. 197, 199].

 The government has responded, and defers to the Court’s discretion whether and to what

 extent to reduce defendant’s sentence [R. 200]. The United States Probation Office has

 provided the court with a Memorandum regarding application of Amendment 782 to

 defendant’s sentence. Defendant is presently scheduled for release on March 14, 2016.

        The defendant was convicted of conspiring to distribute and possess with intent to

 distribute 500 grams of cocaine and 100 kilograms of marijuana, in violation of 21 U.S.C.

 §§ 846, 841(a)(1), and (b)(1)(B). [R. 152].

        At sentencing, defendant’s base offense level was 27 and his criminal history

 category I, resulting in an advisory guideline range of 70 - 87 months. The Court granted

 the defendant’s motion for a downward departure pursuant to USSG § 5K2.0(c), and




Case 3:08-cr-00156-PLR-DCP        Document 203       Filed 05/19/15   Page 1 of 2   PageID
                                        #: 717
 sentenced the defendant to 60 months’ imprisonment (approximately 14 percent below

 the bottom of the guideline range). [R. 152].

       Amendment 782 reduces the guideline range applicable to defendant. Pursuant to

 Amendment 782, defendant’s base offense level is 25, with a criminal history category I,

 resulting in an amended guideline range of 57 - 71 months. The defendant is not eligible

 for a departure or variance below the amended guidelines range.                  USSG

 §1B1.10(b)(2)(A). Giving defendant a bottom of the guidelines sentence, and taking into

 account the policy statements set forth at USSG § 1B1.10 and the sentencing factors set

 forth in 18 U.S.C. § 3553(a), it is hereby ORDERED that defendant’s motion [R. 197,

 199] is GRANTED, and defendant’s sentence is reduced 57 months.

       If this sentence is less than the amount of time defendant has already served, the

 sentence is reduced to a “time served” sentence. See USSG § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated March 21, 2012,

 shall remain in effect. The effective date of this order is November 2, 2015. See

 USSG § 1B1.10(e)(1).

       IT IS SO ORDERED.

       Enter:



                                          ____________________________________
                                          UNITED STATES DISTRICT JUDGE




                                             2


Case 3:08-cr-00156-PLR-DCP       Document 203     Filed 05/19/15    Page 2 of 2    PageID
                                       #: 718
